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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES,

           v.                              No. 23 Cr. 118 (AT)

YANPING WANG,

                       Defendant.




                 MEMORANDUM IN OPPOSITION TO
           GOVERNMENT’S MOTION TO DISQUALIFY COUNSEL




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                                 PRELIMINARY STATEMENT

         “Unrelated.” That is how the prosecutors described the “TIN Matter” that is the centerpiece

of their disqualification motion in a March 2023 letter to the Court. Months later, the prosecutors

seek to establish that the TIN Matter is “substantially related” to this case. So much so, they now

say, that I must be disqualified from representing Ms. Wang—notwithstanding their prior

representation to the Court and, more importantly, the Sixth Amendment.

         The prosecutors bear a heavy burden on this motion. An unsworn brief relying on vague

phrases like                     “ensuing months” (twice), “[a]s a general practice,” and “likely

signifies” does not meet it. (Gov’t Mem. at 5, 7, 21). Ambiguous hedging like “may offer

evidence” and “knowledge of, or access to” (twice) does not suffice. (Id. at 5, 8, 11, 22). Not long

after the underlying CFU investigation commenced, I—along with everyone in the world who had

access to the Wall Street Journal—was “at least aware of” the investigation that gave rise to this

case. (Gov’t Mem. at 8; see also Ex. A). That is not a basis for disqualification.

         My representation of Ms. Wang is also consistent with the ethics rules cited by the

prosecutors: N.Y. Rule 1.11(a) and 18 U.S.C. § 207(a). These rules only prohibit successive

representations by former government attorneys in the same “matter.” The TIN Matter is not the

same “matter” as this case. These rules, including the two-year prohibition in § 207(a)(2), do not

apply.

         The prosecutors are therefore left to rely principally on civil cases applying inapposite

ethics rules without the Sixth Amendment. These authorities require the prosecutors to establish

that the issues involved in the TIN Matter and this case are “identical,” or “essentially the same.”

As far as I know, the “unrelated” TIN Matter focused on one investigative step.

Counterintelligence agents from the FBI executed searches in approximately October 2019.




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                                                                                                 That

makes sense. The investigation that led to this case was separate. The prosecutors concede that it

“arose independently from and was conducted independently of the TIN Matter.” (Gov’t Mem. at

23). The investigation was run in a different unit, CFU. It was conducted by different prosecutors

and agents. It focused on separate crimes. Therefore, consistent with their earlier representations,

the prosecutors have not established that this case is “substantially related” to the TIN Matter.

       The motion should be denied for the additional reason that the prosecutors have not

established that my participation in the TIN Matter was substantial. This motion confronts a

unique fact pattern. Although I was nominally a TIN supervisor at the time, I did not review or

authorize the 2019 warrants in the TIN Matter because I was participating in a separate trial. I

have no recollection of seeing the warrants or any other documents relating to the case, at any

point. It appears that the prosecutors’ evidence of my participation in the TIN Matter amounts to

three emails and approximately two lines of unsworn text, redacted and submitted ex parte,

summarizing conversations. I have not been permitted to review those materials in order to

respond to this motion, but I trust that the Court will scrutinize them carefully.

       At bottom, the Sixth Amendment right is entitled to much more respect than the prosecutors

have assigned it. The fact that the representation is consistent with applicable ethics rules strongly

suggests that my participation in the case would not call into question the integrity of these

proceedings. While the prosecutors raise the specter of a Strickland claim, which would require a

showing of prejudice, an erroneous violation of Ms. Wang’s Sixth Amendment right would require

automatic reversal. Often with the support of the government, defendants in this District are

routinely permitted to waive potential conflicts arising from successive representations. The

prosecutors have not explained why the confidential information allegedly at issue here is entitled




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to enhanced protections beyond that afforded to the confidences of private former clients. The

disqualification motion should be denied, and the Court should hold a Curcio hearing.

                                          BACKGROUND

      I.          Prior Government Service

           I was an Assistant United States Attorney at the U.S. Attorney’s Office for the Southern

District of New York between approximately October 1, 2012 and approximately December 30,

2021. (Aug. 7, 2023 Declaration of Emil Bove (“Bove Decl.”) ¶ 2).

           On September 19, 2019, I was named one of two Co-Chiefs of the Office’s Terrorism and

International Narcotics Unit (“TIN”), which the Office now refers to as NSIN. (Bove Decl. ¶ 3).

A second Co-Chief of TIN was named on the same day. (Id.). At the time of the announcement,

I was spending substantially all of my time preparing for a trial in United States v. Hernandez, No.

15 Cr. 379 (S.D.N.Y.), which began on October 2, 2019. (Id. ¶ 4). I was effectively absent from

TIN in light of my focus on trial preparation, and I remained absent during the Hernandez trial.

(Id.). The Hernandez trial concluded on October 18, 2019. (Id.).

     II.          The TIN Matter

           Before I became a supervisor, Ho Wan Kwok communicated periodically with an FBI

agent between April 2018 and May 2019. (Gov’t Mem. at 2). I played no role in those interactions.

(Bove Decl. ¶ 5).

                                                                                         (the “TIN

Matter”). (Gov’t Mem. at 2-3). I did not participate in the TIN Matter in any way prior to the

conclusion of the Hernandez trial. (Bove Decl. ¶ 4). For example, I did not review, edit, or

authorize the applications for search warrants that were executed in or about October 2019. (See

Bove Decl. ¶¶ 7-8).




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         I do not think that I saw the warrant applications at any point after I “returned to [my] full-

time responsibilities supervising TIN” in late-October 2019. (Gov’t Mem. at 4; Bove Decl. ¶¶ 7-

8). To the extent the prosecutors or FBI maintained a case file—classified or otherwise—I do not

recall accessing it. (Bove Decl. ¶ 6). Although I was generally aware that the FBI was reviewing

the contents of materials it had seized pursuant to the 2019 warrants, I do not recall discussing the

specific contents of any particular seized item, and I have no recollection of any other investigative

steps being taken in the TIN Matter. (Id. ¶ 9). Although it seems plausible to me that I discussed

the TIN Matter with one or both of the assigned line AUSAs, I do not recall the substance of those

conversations, which suggests to me that they were sporadic and limited. (Id. ¶ 11).

    III.        The CFU Prosecution

         The separate CFU investigation that gave rise to the charges in this case began “in or around

May 2020,” around the time that GTV Media Group, Inc. (“GTV”) was created. (Gov’t Mem. at

7). On July 8, 2020, the Wall Street Journal published a story titled “FBI Probes Chinese Exile,

Including Work With Former Trump Aide Steve Bannon.” (Ex. A). The article appears to relate

to the CFU investigation; it named Mr. Kwok and co-defendant Kin Ming Je, but not Ms. Wang.

The Wall Street Journal published a related article on August 19, 2020. (Ex. B).

         On March 15, 2023, Ms. Wang and Mr. Kwok were arrested and detained. In a bail

submission relating to Mr. Kwok on the same day, the prosecutors argued that, “in October 2019,

in connection with an unrelated investigation of Kwok” – i.e., the TIN Matter – “the FBI executed

a search warrant on Kwok’s New York City penthouse.” (Dkt. No. 7 at 20).

         In a March 15 press release, the Office touted the arrest of Mr. Kwok and the charges

against Mr. Je, but did not mention Ms. Wang’s arrest. (Ex. C). Understandably, the press release

did not reference TIN or the TIN Matter. Instead, the Office accurately attributed the case to CFU.

(Id.).


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                                        APPLICABLE LAW

      I.          Sixth Amendment Right To Choice Of Counsel

           The Sixth Amendment right to choice of counsel “commands” that “a particular guarantee

of fairness be provided—to wit, that the accused be defended by the counsel [s]he believes to be

best.” United States v. Gonzalez-Lopez, 548 U.S. 140, 146 (2006). This is the “the root meaning

of the constitutional guarantee,” id. at 147-48, and it “matters profoundly” to defendants such as

Ms. Wang, Kaley v. United States, 571 U.S. 320, 337 (2014). So much so that an erroneous

deprivation of a defendant’s Sixth Amendment right to choice of counsel is a “structural error,”

which is not subject to harmless-error analysis. Gonzalez-Lopez, 548 U.S. at 150.

     II.          Disqualification Motions And Curcio Proceedings

           “Disqualification motions . . . place a heavy burden on the moving party to demonstrate

that disqualification is appropriate.” United States v. Schulte, No. 17 Cr. 548, 2020 WL 534508,

at *4 (S.D.N.Y. Feb. 3, 2020). Your Honor has previously described the relevant standard:

“Motions to disqualify are generally not favored, and, because they are often tactically motivated

and tend to derail the efficient progress of litigation, parties moving for disqualification carry a

heavy burden and must satisfy a high standard of proof.” United States v. Shea, No. 20 Cr. 412

(AT), 2022 WL 4298704, at *6 (S.D.N.Y. Sept. 19, 2022) (cleaned up).

           “Where the right to counsel of choice conflicts with the right to an attorney of undivided

loyalty, the choice as to which right is to take precedence must generally be left to the defendant

and not be dictated by the government.” United States v. Perez, 325 F.3d 115, 125 (2d Cir. 2003).

There is a “very narrow category of cases” in which attorney conflicts are unwaivable. Id. at 126.

The exceedingly limited scope of this category is “illustrated” by United States v. Fulton, 5 F.3d

605 (2d Cir. 1993), where a government witness implicated “the defendant’s trial counsel in related

heroin importation.” Perez, 325 F.3d at 126-27 (cleaned up).


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    III.          18 U.S.C. § 207

       Section 207(a)(1) prohibits former government attorneys from being adverse to the

government in a “particular matter,” in which the attorney “participated personally and

substantially,” and “which involved a specific party or specific parties at the time of such

participation.”     18 U.S.C. § 207(a)(1).    Section 207(a)(2) addresses “two-year restrictions

concerning particular matters under official responsibility.” Id. § 207(a)(2). The provision is also

limited to “a particular matter.” Id.

    IV.           New York Ethical Rules

       Although “not every violation of a disciplinary rule will necessarily lead to

disqualification,” there is no dispute that New York’s ethical rules are relevant to the prosecutor’s

motion. Hempstead Video, Inc. v. Incorporated Village of Valley Stream, 409 F.3d 127, 132 (2d

Cir. 2005).

       New York’s Rule 1.9 sets forth duties that lawyers owe to former private clients. The

limitations in Rule 1.9 that restrict an attorney’s ability to engage in successive representations

apply to “the same or a substantially related matter.” Rule 1.9(a), (b) (emphasis added). When

an attorney’s prior public service is at issue, however, Rule 1.9 applies only “to the extent required

by Rule 1.11.” Cmt. 1, Rule 1.9.

       Rule 1.11(a) is narrower. Similar to § 207(a), the Rule prohibits former government

attorneys from representing a private client in the same “matter” in which the lawyer previously

“participated personally and substantially” as a government attorney. Rule 1.11(a)(1) incorporates

Rule 1.9(c), only. Rule 1.9(c) restricts the use and disclosure of a prior client’s confidential

information; it does not prohibit successive representations.




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     V.        The Evans Test

       Relying on references in Rule 1.9 and its predecessors to a “substantially related matter”—

which are inapposite—federal courts in this Circuit have developed a “‘substantial relationship’

test” for use in disqualification motions based on successive-representation issues in civil cases.

See Government of India v. Cook Indus., Inc., 569 F.2d 737, 739 (2d Cir. 1978). Based on Evans

v. Artek Systems Corp., 715 F.2d 788 (2d Cir. 1983), the prosecutors refer to this as the “Evans

Test.” (See Gov’t Mem. at 13). The test requires the movant to establish three elements:

       (1) the moving party is a former client of the adverse party’s counsel;

       (2) there is a substantial relationship between the subject matter of the counsel’s prior
       representation of the moving party and the issues in the present lawsuit; and

       (3) the attorney whose disqualification is sought had access to, or was likely to have had
       access to, relevant privileged information in the course of his prior representation of the
       client.

Evans, 715 F.2d at 791.

       Even in a civil case, the Court of Appeals has instructed that “we must be solicitous of a

client’s right freely to choose his counsel.” Cook Indus., 569 F.2d at 739. This admonition and

other considerations “have resulted in honing the ‘substantial relationship’ test in this Circuit in

practical application to granting disqualification only upon a showing that the relationship between

issues in the prior and present cases is patently clear.” Id. at 739-40 (cleaned up). Disqualification

is appropriate “only when the issues involved have been identical or essentially the same.” Id. at

740. “The fact that both matters share a common area of law . . . or that the cases involve . . . the

same agency are not a sufficient basis upon which to find substantial relationship.” McBean v.

City of New York, No. 02 Civ. 5426, 2003 WL 21277115, at *4 (S.D.N.Y. June 3, 2003)

(interpreting predecessor to Rule 1.11).




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                                          DISCUSSION

           The government has previously argued to Your Honor that “[d]isqualifying counsel is a

drastic measure that is generally disfavored in this Circuit,” that “[g]eneralized allegations of

misconduct and mere claims of impropriety are wholly inadequate,” and that “disqualification is

usually only appropriate when there is an actual risk of prejudice.” (Dkt. No. 277 at 28, Shea, No.

20 Cr. 412 (AT) (S.D.N.Y. Sept. 7, 2022)). Because those assertions are accurate, and because

the prosecutors have not met that burden, the Court should deny the motion and give Ms. Wang

an opportunity to waive potential conflicts at a Curcio proceeding.

      I.          Section 207(a) And Rule 1.11(a) Do Not Apply

                  A.     This Is Not The Same “Matter”

           My representation of Ms. Wang in this case does not violate § 207(a) or Rule 1.11(a)

because the TIN Matter and this case are not the same “matter.” The prosecutors conceded in

March 2023 that the TIN Matter was “unrelated,” and they now acknowledge that this case “arose

independently from and was conducted independently of the TIN Matter.” (Dkt. No. 7 at 20; Gov’t

Mem. at 23). Accordingly, the representation does not implicate these authorities.

           Although Rule 1.9(a) and 1.9(b) pertain to former-client conflicts “in the same or a

substantially related matter,” these provisions do not apply. See Cmt. 1, Rule 1.9. (“Current and

former government lawyers must comply with this Rule to the extent required by Rule 1.11.”). In

contrast, § 207(a) and Rule 11.1(a) are limited to representations in the same “matter.” See In re

Payment Card Interchange Fee and Merchant Discount Antitrust Litig., No. 05 Civ. 1720, 2006

WL 6846702, at *6 (E.D.N.Y. Aug. 7, 2006) (“[W]hereas private attorneys may not appear against

a former client in the same or a substantially related matter in which the attorney played any role,

the rule concerning former government attorneys only precludes subsequent representation in a




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matter that is the same as one in which the attorney participated ‘personally and substantially’

while in the government’s employ.”).1

       The comparatively restricted scope of Rule 1.11(a) is intentional. The “substantially

related” phrase has been excised from Rule 1.11 in order to “represent[] a balancing of interests.”

Cmt. 4, Rule 1.11.      “[T]he rules governing lawyers presently or formerly employed by a

government agency should not be so restrictive as to inhibit transfer of employment to and from

the government. . . . A former government lawyer is therefore disqualified only from particular

matters in which the lawyer participated personally and substantially.” Id. (emphasis added). This

is not such a matter.

       For similar reasons, § 207(a) does not apply. See United States v. Medico Indus. Inc., 784

F.2d 840, 843 (7th Cir. 1986) (“The parties, facts, and subject matter must coincide to trigger the

prohibition of § 207(a).”). In support of their argument that this case is part of a “two-year ban,”

the prosecutors quote the definition of “official responsibility” for purposes of § 207(a)(2). (See

Gov’t Mem. at 26 (citing 18 U.S.C. § 202(b)). While the TIN Matter meets that definition, this

case does not because I never supervised it. Accordingly, the two-year restriction of § 207(a)(2)

is not implicated.

       The prosecutors’ argument regarding the application of § 207(a) is based on an additional

fundamental misconception about the scope of the statute. Seizing on the phrase “involved a

specific party,” 18 U.S.C. § 207(a)(1)(C), they argue that the TIN Matter and this case are the

“same ‘matter’” because Mr. Kwok was a “specific party” in both. (Gov’t Mem. at 25). The




1
 Accord Restatement (Third) of the Law Governing Lawyers § 133 cmt. e (2000) (explaining that
rule governing former government attorneys “is narrower than that governing former-client
conflicts of interest”).


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prosecutors cite no authority for this expansive interpretation of the statute, which would eviscerate

the plain meaning of the term “particular matter.” Because none exists. The modifying phrase

“involved a specific party” further limits the statute’s application by excluding “[m]atters of

general applicably”—which are “not covered”—such as “[l]egislation or rulemaking of general

applicability and the formulation of general policies.” 5 C.F.R. § 2641.201(h)(2).2 To the extent

any of this is susceptible to a contrary interpretation, the government itself has noted that “the rule

of lenity requires that any remaining ambiguity in [Section 207] be construed so as to narrow, not

broaden, the statute’s prohibitions.” 25 U.S. Op. Off. Legal Counsel 120, 2001 WL 36209373, at

*5 (June 20, 2001). For all of these reasons, neither Rule 1.11(a) nor § 207(a) prohibit my

representation of Ms. Wang.

               B.      There Was Not “Personal and Substantial” Participation

       Section 207(a) is also limited to matters in which a former government attorney

“participated personally and substantially.” The prosecutors emphasize that I was “aware” of the

investigation in the CFU unit, which I never supervised, that led to the charges in this case. (Gov’t

Mem. at 6, 8, 23). So was the Wall Street Journal. (Exs. A, B). “An employee does not participate

in a matter merely because he had knowledge of its existence . . . .” 5 C.F.R. § 2641.201(i)(1).

Thus, my general awareness of the separate investigation hardly requires disqualification.




2
  “Example 4” to § 2641.201(h)(2) further illustrates the point: “An employee in the legislative
affairs office of the Department of Homeland Security (DHS) drafted official comments submitted
to Congress with respect to a pending immigration reform bill. After leaving the Government, he
contacts DHS on behalf of a private organization seeking to influence the Administration to insist
on certain amendments to the bill. This is not prohibited. Generally, legislation is not a particular
matter involving specific parties. However, if the same employee had participated as a DHS
employee in formulating the agency’s position on proposed private relief legislation granting
citizenship to a specific individual, this matter would involve specific parties, and the employee
would be prohibited from later making representational contacts in connection with this matter.”


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       Nor, contrary to the prosecutors’ assertions, does a government employee “participate in a

matter merely . . . because it was pending under his official responsibility.”             5 C.F.R.

§ 2641.201(i)(1). I played no role in the October 2019 searches that constituted the central, and

perhaps the only, investigative step that was taken in the TIN Matter (see Bove Decl. ¶¶ 7-9). See

Medico Indus. Inc., 784 F.2d at 843 (“[I]f the matter was just within his job description, but he did

not work on it himself, the officer would be free to represent a private party after leaving the

government.”). The term “substantially . . . requires more than official responsibility, knowledge,

perfunctory involvement, or involvement on an administrative or peripheral issue.” 5 C.F.R.

§ 2641.201(i)(3). “[S]ubstantial participation is substantive in nature and directly affects the

merits of the prior case.” Arroyo v. City of Buffalo, No. 15 Civ. 753A, 2017 WL 3085835, at *12

(W.D.N.Y. July 20, 2017) (cleaned up). That did not happen here.

       In an unsworn brief, the prosecutors rely on the fact that I “was not recused from the TIN

Matter” to speculate that I was “briefed, consulted, and provided advice regarding the case.”

(Gov’t Mem. at 5). Their conclusion does not follow from that premise. The prosecutors contend

that I “had knowledge of, or access to, classified information” relating to the TIN Matter because

that “is typical with TIN investigations.” (Id.). The “or access to” hedge is telling, and I

respectfully disagree with the contention. (See Bove Decl. ¶ 6).

       Setting aside these vague assertions, the prosecutors’ proffer regarding my participation in

the TIN Matter is limited to three emails and approximately two lines of redacted text—submitted

to the Court ex parte—summarizing conversations I am said to have had with line AUSAs at times

and regarding topics that were not disclosed to me in connection with this motion (Gov’t Mem. at

5-6). See United States v. Fisher, No. 17 Cr. 73, 2021 WL 4227019, at *4 (D. Nev. Sept. 16, 2021)

(“The lack of specific recollections of [former government attorney’s] involvement in the matter




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while with the USAO, together with the lapse of time, lends support to finding that [the attorney’s]

involvement in the . . . matter was simply not substantial.”). The prosecutors bear the burden of

demonstrating that disqualification is appropriate, and their motion is hardly a compelling

showing. See United States v. Haggard, No. 08 Cr. 327, 2009 WL 5207263, at *3 (S.D. Ala. Dec.

29, 2009) (denying disqualification motion based on § 207 where, “[a]side from these assertions

in its brief, the Government has not produced an iota of evidence in support of its assertions”);

United States v. Obendorf, No. 15 Cr. 254, 2016 WL 1595347, at *4 (D. Id. Apr. 20, 2016)

(denying disqualification motion based on § 207 where former government attorney “had only two

conversations about the Obendorf matter at the USAO and was not actively involved in

investigating or litigating the case”).

        I do not recall these communications. (Bove Decl. ¶¶ 10-12).3 It appears that in the first

email, in October 2019, I performed the administrative task of requesting a case-tracking number.

The prosecutors speculate about what the email “likely signifies.” (Gov’t Mem. at 5). Absent

more, their conjecture is insufficient.     See Fisher, 2021 WL 4227019, at *3 (rejecting

government’s “explanation of what the [asset forfeiture team] does generally by virtue of its

standard operating procedure”).

        The second and third emails are from July 1 and 8, 2020. My recollection is that one of

the line AUSAs transferred to a different unit at the Office at some point, and that remote work

necessitated by the COVID-19 pandemic beginning in approximately March 2020 restricted my




3
 It is not clear to me which “Co-Chief” is being referenced when the prosecutors assert that a TIN
supervisor “became conflicted from aspects of the TIN Matter.” (Gov’t Mem. at 7). I do not recall
being notified of such a conflict. (Bove Decl. ¶ 13). Although the prosecutors assert that I
“continued receiving updates” about the TIN Matter “[i]n the ensuing months,” they have not
disclosed a specific timeframe to me. (Gov’t Mem. at 7).


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ability to communicate with members of TIN regarding classified information or “sensitiv[e]”

aspects of any investigation. (Gov’t Mem. at 5; Bove Decl. ¶ 10). The summary of the July 1,

2020 email suggests, in essence, that a press inquiry was forwarded to me and my Co-Chief, and

I responded. (Gov’t Mem. at 6). Approximately eight days later, FBI agents sent me and my Co-

Chief a link to an article. (Id.). I do not recall the email, and the prosecutors have not suggested

that I did anything with it. (Id.). Rather, my Co-Chief forwarded it to one of the TIN AUSAs.

(Id.).

         On the same day as the email, the Wall Street Journal published an article that appears to

relate to the CFU investigation. (See Ex. A). The article discussed topics within the scope of the

CFU investigation, including Mr. Kwok and co-defendant William Je, but not Ms. Wang. The

following month, the Journal published a second article that also appears to relate to the CFU

investigation. (See Ex. B). These articles demonstrate that there was a significant amount of

information about the CFU investigation in the public domain shortly after the investigation was

initiated, but they do not support the argument that I was “personally and substantially involved”

in the TIN Matter.

         This is a far cry from the quantity and quality of the evidence of participation in the cases

cited by the prosecutors. In United States v. James, the prosecutors proceeded “with affidavits.”

708 F.2d 40, 42 (2d Cir. 1983); see also United States v. Miller, f, 1199-1200 (3d Cir. 1980)

(describing multiple “affidavit[s]” submitted in connection with disqualification motion);4 Schulte,


4
  Miller is distinguishable for the additional reasons that (1) the trial judge found that the former
government attorney had responsibility for the investigation that led to the case in question, and
(2) the disqualification decision was based in part on a state-law advisory opinion that is no longer
good law in New Jersey and inconsistent with N.Y. Rule 1.11(a) and 18 U.S.C. § 207(a). See 624
F.2d at 1200 (citing In re Advisory Opinion on Professional Ethics No. 361, 390 A.2d 118 (N.J.
1978)); see also State v. Hudson, 128 A.3d 739, 746-47 (App. Div. 2015) (describing “sea
change”). The Ninth Circuit has declined to follow Miller based on “grave doubts” about the

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2020 WL 534508, at *1 (“Manufactured hypothetical violations of different professional

responsibility rules, without foundation in fact or law, do not meet the heavy burden required to

demonstrate that disqualification is appropriate”). Here, the prosecutors rely on “discussions.”

(Gov’t Mem. at 5 n.4). And the cases the prosecutors cite relating to former government attorneys

involved more direct participation than the prosecutors have established:

            United States v. Philip Morris, Inc., 312 F. Supp. 2d 27, 38, 42 (D.D.C. 2004): former
             government attorney provided “extensive and extended legal representation to the FDA,”
             including “work[ing] a total of 382 hours on the FDA Litigation.”

            United States v. Smith, 995 F.2d 662, 676 (7th Cir. 1993): former government attorney
             “signed an immunity agreement for one of the government’s major witnesses in this case.”

            United States v. Brothers, 856 F. Supp. 370, 373 (M.D. Tenn. 1992): former government
             attorney “prepared the affidavit and search warrant from written reports, charts, and oral
             information given to him by the agents,” and the fruits of the search were to be used against
             his client.

            United States v. Ostrer, 597 F.2d 337, 339 (2d Cir. 1979): former government attorney
             “personally prosecuted two of [three cooperating witnesses against the current client],
             Barresi and Geller, and called the third, Brown, as a witness at Geller’s trial.”

The prosecutors have not demonstrated that I participated “personally and substantially” in the

TIN Matter, and Rule 1.11(a) and § 207(a) do not apply because the TIN Matter was distinct and

“unrelated” to this case.

       II.          The Evans Test Does Not Require Disqualification

                Once the motion is stripped of meritless arguments regarding Rule 1.11(a) and § 207(a),

the prosecutors are left with the burden of demonstrating that disqualification is appropriate based

solely on the Evans test, which was developed in civil cases involving private litigants with no

Sixth Amendment rights. See United States v. Castellano, 610 F. Supp. 1137, 1147 (S.D.N.Y.




analysis in the opinion. United States v. Washington, 797 F.2d 1461, 1466 (9th Cir. 1986).


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1985) (rejecting “the government’s reliance on the standard for disqualification enunciated in civil

cases”). In criminal cases, prosecutors have “‘an affirmative obligation to respect and preserve

the accused’s choice to seek this assistance,’” and “[t]he government must ‘honor’ this right.”

United States v. Stein, 541 F.3d 130, 154 (2d Cir. 2008) (quoting Maine v. Moulton, 474 U.S. 159,

170-71 (1985)). The prosecutors must be held to a “principle of non-interference”—because “the

right to counsel in an adversarial legal system would mean little if defense counsel could be

controlled by the government or vetoed without good reason”—and “the government violates the

Sixth Amendment when it intrudes on the attorney-client relationship.” Id. at 154.

        Thus, when courts look to Evans and its progeny in criminal cases, the three elements are

applied stringently. See United States v. Armaza, 280 F. Supp. 2d 174, 183 (S.D.N.Y. 2003) (“The

substantial relationship test is strictly applied to avoid depriving clients of their chosen counsel . .

. .). The disqualification motion is unable to withstand such scrutiny.

                 A.     The Matters Are Not Substantially Related

        The “substantially related” element of the Evans test requires the prosecutors to establish

that issues involved are “identical,” or “essentially the same.” Cook Indus., 569 F.2d at 740; see

also United States v. Rastelli, No. 87 Civ. 2974, 1989 WL 5273, at *1 (E.D.N.Y. Jan. 23, 1989)

(“The movant can meet this ‘substantial relationship’ requirement only by demonstrating that the

issues involved in the past and present representations are ‘identical’ or ‘essentially the same.’”

(quoting Cook Indus., 569 F.2d at 740)); CQS ABS Master Fund Ltd. v. MBIA Inc., No. 12 Civ.

6840, 2013 WL 3270322, at *12 (S.D.N.Y. June 24, 2013) (“The threshold of similarity is quite

high: a relationship between issues is ‘substantial’ only if it is ‘patently clear’ and the issues are

‘identical’ or ‘essentially the same.’”). The prosecutors “cannot meet this burden by putting forth

mere speculation or arguing in favor of the mere appearance of impropriety.” Shea, 2022 WL

4298704, at *6


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       “[I]n all the reported cases where counsel was disqualified, the former government attorney

had some involvement with the investigation of the underlying prosecution.” United States v.

Escobar-Orejuela, 910 F. Supp. 92, 100 (E.D.N.Y. 1995); see also, e.g., United States v. Uzzi, 549

F. Supp. 979, 982 (S.D.N.Y. 1982) (reasoning that “this prosecution arose directly out of that

investigation”). That is not the case here. As with Rule 1.11(a) and § 207(a), the analysis must

begin with the prosecutors’ March 2023 representation to the Court that the matters are

“unrelated.” See Schulte, 2020 WL 534508, at *5 (applying “particularly strict scrutiny because

of defense counsel’s shifting narratives” in disqualification motion). That is true.

       The TIN Matter started earlier, in a different unit, with different AUSAs and agents, and it

related to different alleged conduct and different target offenses.



                                        (See generally Aug. 7, 2023 Sealed Declaration of Alex

Lipman). This is not surprising, as GTV did not even exist at the time. Thus, the matters are not

substantially related because “the legal theories and facts are not the same.” Ferncliff Cemetery

Association v. Town of Greenburgh, New York, No. 18 Civ. 6411, 2019 WL 6878560, at *5

(S.D.N.Y. Dec. 17, 2019); see also In re Payment Card Interchange Fee and Merchant Discount

Antitrust Litig., 2006 WL 6846702, at *14 (“Where such material factual differences exist, the

similarity of allegations, subject matter, defendants, or legal theory is an insufficient basis on

which to conclude that two matters are the same.”).

       The Court should reject the prosecutors’ effort to expand the scope of the TIN Matter to

include Mr. Kwok’s earlier interactions with the FBI. (See Gov’t Mem. at 2). I did not participate

in those interactions. (Bove Decl. ¶ 5).




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                                         (See Gov’t Mem. at 3).




                                                                     (Id.).

       Mr. Kwok’s alleged status as “the focus of the TIN Matter,” if true, is not a sufficient basis

to disqualify me from representing Ms. Wang. (Gov’t Mem. at 20). For example, in one of the

cases cited by the prosecutors, the court reasoned: “That the matters were ‘[Hurricane] Sandy-

related,’ however, does not make them substantially related.” Giambrone v. Meritplan Ins. Co.,

117 F. Supp. 3d 259, 274 (E.D.N.Y. 2015). Thus, such general overlap does not require

disqualification. Nor does the relationship between Mr. Kwok and Ms. Wang, which was not

central to the TIN Matter as far as I know. Commonalities relating to the background relationship

between the defendants are not sufficient to require disqualification. (See Dkt. No. 289 at 28, New

York, et al., v. Deutsche Telekom AG, et al., No. 19 Civ. 5434 (S.D.N.Y. Nov. 26, 2019) (finding

no substantial relationship between antitrust matters “even if there surely will be some things in

common or that can be deemed related”)).

       The limited temporal overlap does not suffice. While the Superseding Indictment alleges

that the conspiracy charged in Count One began in 2018, the bases for that allegation appear to be

limited to: (1) Mr. Kwok’s founding of the Rule of Law Foundation and the Rule of Law Society

(Dkt. No. 19 ¶ 6(b)); and (2) Ms. Wang’s opening of bank accounts (Dkt. No. 1 ¶¶ 11(a)-(b)). The

prosecutors have not alleged that any illicit transactions in furtherance of the charged schemes

occurred prior to the summer of 2020.

       In sum, “[t]he gravamen of this case is completely different.” Doe 1 v. JPMorgan Chase

Bank, N.A., No. 22 Civ. 10019, 2023 WL 3383724, at *2 (S.D.N.Y. May 11, 2023). A rule “that




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Attorney-1 was involved in “the single act of approving or participation in a critical step.” Huawei

Tech. Co. Ltd., 2020 WL 903007, at *6 (cleaned up). In contrast, the only critical step I am aware

of in the TIN Matter involved the execution of the October 2019 search warrants, which I did not

review, approve, or authorize. (See Bove Decl. ¶¶ 7-9).

               C.      The Prosecutors Have Not Established Access To Relevant Privileged
                       Information

       For the same reasons that the prosecutors have not established that I participated

“personally and substantially” in the TIN Matter, see Part I.B, supra, they have not demonstrated

that I had access to privileged information that warrants disqualification.

       Naked claims of a breach of confidential relations, or the attorney’s receipt of confidential
       information, in a prior representation are not sufficient alone; the moving party must allege
       the type and nature of the confidences that were exchanged in the prior litigation that should
       subsequently disqualify the attorney in the latter representation.

32 Am. Jur. 2d Federal Courts § 160. It bears repeating, the prosecutors have proffered two lines

of redacted text in an unsworn brief and three emails. Two of the emails related to media coverage

of the CFU investigation.

       I do not recall any of these communications. (Bove Decl. ¶¶ 11-12). The prosecutors

contend that my recollection is “irrelevant.” (Gov’t Mem. at 24). To the contrary, “it is a factor

that indicates even less reason for concern.” (Dkt. No. 289 at 28, Deutsche Telekom, No. 19 Civ.

5434 (S.D.N.Y. Nov. 26, 2019)); see also Haggard, 2009 WL 5207263, at *3 (denying

disqualification motion based in part on attorney affidavit stating he “ha[d] no recollection of

participating in any review, evaluation or recommendations regarding Defendant”). I do not recall

ever seeing the 2019 warrant materials. (Bove Decl. ¶¶ 7-8). But any attorney representing Ms.

Wang will see them in connection with this case because the prosecutors have produced them.

(Gov’t Mem. at 21 n.12). “Information that has been disclosed to the public or to other parties

adverse to the former client ordinarily will not be disqualifying.” Cmt. 3, Rule 1.9.


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       Perhaps recognizing the paucity of their showing, the prosecutors repeatedly urge the Court

to ignore their “heavy burden” and “high standard of proof,” Shea, 2022 WL 4298704, at *6, by

applying an irrebuttable presumption that I accessed relevant privileged information. (Gov’t Mem.

at 15-16). The Court should reject the invitation to error because it reflects an improper disregard

for Ms. Wang’s constitutional rights.

       The prosecutors cite only two district court cases that support their position: Uzzi and

Huawei.5 In addition to the differences identified above in Part II.B, the cases are distinguishable

for important reasons not applicable to this motion.        In Uzzi, disqualification of a former

government attorney was sought in a “prosecution [that] arose directly out of that investigation.”

549 F. Supp. at 982. In Huawei, although the court applied the presumption, the prosecutors

“identified specific confidential information from [Attorney-1’s] prior representation that

[Attorney-1] had and can use to the detriment of his former client.” (Ex. D at 21). To the extent

a court could ever properly presume away an element of the test prosecutors must meet to

overcome a defendant’s Sixth Amendment right to choice of counsel, both of those considerations

must be present. Presumptive access to relevant confidential information is more reasonable where

it is established that the former government attorney participated in the same investigation that led

to the charges against the current client. Moreover, as appears to have happened in Huawei, the

prosecutors should be required to offer more than ipse dixit to justify disqualification when lesser

measures—such as waiver—are available. They have not done so here, and the disqualification

should be denied.



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  The prosecutors also cite United States v. Smith, but the court noted in that case that the
“presumption is rebuttable.” 995 F.2d at 676. Similar to Uzzi, and as noted above, Smith is also a
case where the former government attorney directly participated in the same investigation that
gave rise to the charges.


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    III.       The Potential Conflicts Are Waivable

       The severe approach of disqualification is not warranted because Ms. Wang can waive the

potential conflicts identified by the prosecutors following Curcio proceedings. As discussed below

in Part III.A, it is not uncommon for defendants to waive potential conflicts implicating an

attorney’s duties of loyalty and confidentiality to a prior client, despite the fact that the attorney

must honor the prior client’s confidences when discussing the potential conflict with the current

client. In this regard, the government’s confidential information is not entitled to special treatment.

       The prosecutors suggest that accepting a waiver would be imprudent because Ms. Wang

could subsequently challenge these proceedings on that basis. We have no objection to Curcio

proceedings that require Ms. Wang to give up the right to bring such challenges, which is standard

practice in this District. We are mindful that those waivers are enforceable. See, e.g., Baldeo v.

United States, No. 13 Cr. 125, 2018 WL 1116570, at *9 (S.D.N.Y. Feb. 26, 2018) (“Such a valid

waiver of right to conflict-free counsel cannot be defeated simply because the conflict

subsequently affects counsel’s performance.” (cleaned up)).

       Moreover, even if it could reasonably be said that a Curcio proceeding would give rise to

unwarranted appellate risk—and I submit that it cannot—so too would disqualification, in

violation of Ms. Wang’s Sixth Amendment right, on the basis of the record here. See United States

v. Perrone, No. 05 Cr. 774, 2007 WL 1575248, at *10 (S.D.N.Y. May 29, 2007) (“And though

the government asserts that, should he be convicted, [defendant] will have a ripe ineffective

assistance of counsel claim . . . , they fail to note that he will also have a ripe claim for denial of

chosen counsel should the Court disqualify his attorneys.” (cleaned up)). Whereas the potential

legal challenges identified by the prosecutors would likely require a demonstration of prejudice by

Ms. Wang should she elect to bring them at some point in the future, a meritorious challenge to

the deprivation of her Sixth Amendment right to choice of counsel would require automatic


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reversal. See Gonzalez-Lopez, 548 U.S. at 150 (“We have little trouble concluding that erroneous

deprivation of the right to counsel of choice, with consequences that are necessarily unquantifiable

and indeterminate, unquestionably qualifies as structural error.”); United States v. Liszewski, No.

06 Cr. 130, 2006 WL 2376382, at *10 (E.D.N.Y. Aug. 16, 2006) (“I must err on the side of non-

disqualification, both because [defendant] has a constitutional right to counsel of his choice, and

because to do otherwise would be to risk automatic reversal of any conviction that might ensue.”).6

       Finally, I am mindful of the Court’s separate gatekeeping function, under Curcio and more

generally, with respect to the integrity of these proceedings. I respectfully submit that my role in

the separate TIN Matter does not call that integrity into question. As the Ninth Circuit has

observed:

       It is easy to express vague concerns about public confidence in the integrity of the judicial
       process. It is quite a different matter to demonstrate that public confidence will in fact be
       undermined if criminal defendants are permitted to retain lawyers who worked for the
       government in the field of law implicated by an indictment. We are unwilling to sacrifice
       a defendant’s Sixth Amendment right to counsel of his choice on such an unsubstantiated
       premise. Indeed, for all we as judges know in a vacuum, the public very well may have
       greater confidence in the integrity of the judicial process assured that a criminal defendant’s
       right to counsel of his choice will not be lightly denied.

United States v. Washington, 797 F.2d 1461, 1466 (9th Cir. 1986). Respecting Ms. Wang’s choice

of counsel, upon a knowing and intelligent waiver of potential conflicts, would be consistent with

the discretion that the Court exercised in United States v. Zuckerman, where Your Honor accepted

a defendant’s Curcio waiver despite the fact that the defendant’s current attorneys were “potential

witnesses” against him and “could potentially be compelled to testify against [him] at trial or in a




6
  Liszewski serves as an example of the appropriate balancing of the Sixth Amendment right on a
disqualification motion, and illustrates that the prosecutors have it backwards when they cite a
civil decision for the proposition that “‘any doubt is to be resolved in favor of disqualification.’”
(Gov’t Mem. at 12 (quoting Hull v. Celanese Corp., 513 F.2d 568, 571 (2d Cir. 1975))).


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related hearing.” (Dkt. No. 21 at 8-9, No. 16 Cr. 194 (S.D.N.Y. June 23, 2016)). The risks that

the Court accepted in that situation in order to honor the defendant’s Sixth Amendment right were

myriad. See also, e.g., Perez, 325 F.3d at 128 (“We also reject the contention that [counsel] had

an unwaivable conflict of interest because he was a potential witness for the government at trial.”).

For the reasons set forth below, the potential conflicts at issue in this case do not rise to that level

and are therefore waivable.

               A.      The TIN Matter

       The prosecutors’ argument that disqualification is necessary to “avoid trial taint” ignores

the Office’s longstanding practice of supporting defendants’ knowing and voluntary waivers of

potential conflicts faced by their attorneys that implicate duties of loyalty and confidentiality to

former clients. (See Gov’t Mem. at 26-27).

       The prosecutors suggest that Ms. Wang cannot be advised of the risks associated with the

potential conflict because I “may be also aware of classified information.” (Gov’t Mem. at 27). I

dispute that I am aware of classified information as a result of the TIN Matter, and the prosecutors

have not established otherwise. (See Bove Decl. ¶ 6). Even if their speculation is to be indulged,

the ethics rules cited by the prosecutors do not attribute special status to classified information. I

am well aware that I may not disclose confidential government information, and I take that

obligation seriously. But Curcio proceedings do not require an attorney to disclose a former

client’s confidences to the current client, whether or not that former client is the government.

       Rather, the defendant must be instructed regarding the “dangers” of the potential conflict:

       At such a hearing, the trial court (1) advises the defendant of his right to representation by
       an attorney who has no conflict of interest, (2) instructs the defendant as to the dangers
       arising from particular conflicts, (3) permits the defendant to confer with his chosen
       counsel, (4) encourages the defendant to seek advice from independent counsel, (5) allows
       a reasonable time for the defendant to make a decision, and (6) determines, preferably by
       means of questions that are likely to be answered in narrative form, whether the defendant



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       understands the risk of representation by his present counsel and freely chooses to run
       them.

Jenkins, 325 F.3d at 119. The fact that a defendant “did not know the exact nature” of the

confidential information at issue “does not render his waiver invalid.” United States v. Basciano,

No. 03 Cr. 929, 2008 WL 794945, at *8 (E.D.N.Y. Mar. 24, 2008).

       Defendants are routinely permitted to waive potential conflicts involving situations where

the defendant’s attorney cannot disclose the confidences of a former client. To address any risks

associated with that circumstance, prosecutors and courts make clear to the defendant in Curcio

proceedings that the attorney possesses information s/he cannot share. By way of example, in

2021, prosecutors argued to Your Honor that a potential conflict was waivable where a defendant’s

attorney had previously represented a co-defendant.       They proposed the following Curcio

questions:

      “Do you understand that [your attorney] may have learned information from [former client]
       that he may be unable to share with you or use to defend you, in light of the duty of
       confidence he owes to [former client], even if the information would be helpful to you?”

      “Do you understand that the restrictions on [your attorney’s] ability to represent you may
       adversely affect his representation of you in this case in ways that we have not yet
       discussed? Do you understand that the greatest danger is the inability to foresee all the
       conflicts that may arise?”

Dkt. No. 777 at 6, United States v. Liu, No. 15 Cr. 616 (S.D.N.Y. Feb. 2, 2021) (emphases added).

       Similarly, Judge Castel recently accepted a defendant’s waiver where the attorney had

previously represented two cooperating witnesses. The prosecutors’ proposed Curcio questions

included the following:

      Are you aware that [your attorney] may have information from CW-1 and/or CW-2 that
       may be helpful in defending you, but that she is absolutely prohibited from using that
       information to defend you because of the attorney-client privilege?

      Do you understand that, should CW-1 testify against you, [your attorney] may not use any
       information to cross-examine CW-1, even if [your attorney] believes that such cross-


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       examination would be helpful to you? Do you understand that, similarly, should CW-2
       testify against you, [your attorney] may not use any information to cross-examine CW-2,
       even if [your attorney] believes that such cross-examination would be helpful to you?

Dkt. No. 517-1 at 2, United States v. Hernandez, No. 15 Cr. 379 (S.D.N.Y. Feb. 10, 2023)

(emphases added).

       Consistent with the sorts of questions proposed by prosecutors in Liu and Hernandez, Ms.

Wang does not need access to confidential government information to validly waive any potential

conflict. No case the prosecutors cite suggests that I would be required to violate my duty of

loyalty relating to the TIN Matter, in a “cursory” fashion or otherwise, in order for Ms. Wang enter

a waiver knowingly and intelligently. (Gov’t Mem. at 27). In United States v. Pappa, defense

counsel insisted that disqualification was necessary because they faced “severe” conflicts. 37 F.

App’x 551, 554 (2d Cir. 2002). The opposite is true here. I believe the potential conflict is

waivable, I have discussed with Ms. Wang the “nature” of the conflict and the associated

“danger[s],” and I need not disclose confidences in order to do so effectively.

       In United States v. Schwarz, the court concluded that the conflict was unwaivable where

an attorney faced ethical and “substantial” financial incentives to curry favor with another current

client to the detriment of the defendant. 283 F.3d 76, 96 (2d Cir. 2002). The court “assume[d]”

that “the distinct possibility existed that, at each point the conflict was felt, [the attorney] would

sacrifice [the defendant’s] interests for those of the [other current client].” Id. at 96. Here, unlike

the concurrent-representation conflict in Schwarz, the prosecutors do not appear to be suggesting

that the potential conflict is unwaivable because of its pervasive nature. (See Gov’t Mem. at 27

(“The conflict could arguably be resolved by obtaining a knowing and intelligent waiver of any

potential conflict from Wang.”)). Rather, they appear to argue that Ms. Wang cannot be adequately




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advised by the Court and counsel regarding the implications of the conflict so that she can make

her own decision.

       Given that position, the citation to Armedo-Sarmiento was an odd choice. (Gov’t Mem. at

27). The case makes clear that Ms. Wang can be advised of the “nature of the conflict” without

disclosing the government’s confidences. 524 F.2d at 593. There, the Circuit reversed a trial

court’s disqualification of an attorney who had “represented three individuals whom the

Government planned to use as witnesses,” where two of the witnesses “were unwilling to waive

their attorney-client privileges.” 524 F.2d 591, 592 (2d Cir. 1975).7 Thus, the attorney could not

discuss with the defendant confidential information relating to two clients, and he could not use

those clients’ confidences when cross-examining them at the defendant’s trial. Finding that civil

cases that “do not involve the crucial factor of the criminal defendant’s Sixth Amendment rights”

were “not controlling in the present case,” the Court of Appeals remanded the case to allow the

defendant to waive the conflicts. Id. at 593-94. Armedo-Sarmiento therefore supports Ms. Wang’s

request for a Curcio hearing.

               B.     Mei Guo

       The potential conflict arising from my colleagues’ representation of Mei Guo in other

proceedings is waivable and does not support the disqualification motion.              My firm’s

representation of Ms. Guo predated my arrival by at least approximately a year. (Bove Decl. ¶ 14).

When I arrived at the firm in January 2022, I was asked to assist in the matter. (Id.). I consulted




7
 Because Armedo-Sarmiento makes clear that a Curcio waiver is permissible notwithstanding the
former clients’ lack of consent, the reasoning in Huawei to the contrary is not persuasive. See
Huawei, 2020 WL 903007, at *6.


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the then-Associate United States Attorney, and he asked me not to participate. (See Gov’t Mem.

at 8-9). I did what he asked. (Bove Decl. ¶ 14).

       In approximately June 2023, I was asked to participate in the representation of Ms. Wang

in these proceedings. (Bove Decl. ¶ 15). In response to the request, I reviewed the significant

volume of public filings in this case, which were not available to me in January 2022 and included

the March 15, 2023 letter in which the prosecutors described the TIN Matter as “unrelated.” (See

id.). Prior to accepting the engagement, I also reviewed relevant ethics rules, consulted CSG Law’s

general counsel and other colleagues, and discussed the potential conflicts with Ms. Wang (without

disclosing confidential government information). (Id.).

        My decision to comply with the Office’s request relating to Ms. Guo is neither binding

nor persuasive authority for purposes of the prosecutors’ disqualification motion relating to Ms.

Wang. I made that decision for two reasons. First, my firm’s representation of Ms. Guo related

to civil matters, and she had no Sixth Amendment right to choice of counsel. Second, there were

no public filings at the time, and I was not in a position to make an independent assessment of the

potential conflict. In any event, the potential conflict is waivable. See, e.g., United States v.

Akhavan, No. 20 Cr. 188, 2020 WL 2836825, at *2 (S.D.N.Y. June 1, 2020).




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                                         CONCLUSION

       For the foregoing reasons, the disqualification motion should be denied, and the Court

should hold a Curcio hearing to give Ms. Wang an opportunity to make a knowing and intelligent

waiver of the potential conflicts presented.

Dated: New York, New York
       August 7, 2023

                                                    Respectfully submitted,


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